Case 9:16-cv-81798-DMM Document 103 Entered on FLSD Docket 11/24/2017 Page 1 of 3



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                    Case No.: 9:16-cv-81798-DMM

   TTT Foods Holding Company LLC,
   a Florida limited liability company,
                   Plaintiff,
   v.

   BEATRICE NAMM, an individual,
   JONATHAN NAMM, an individual,
   and DELUXE GOURMET
   SPECIALTIES LLC, a New Jersey
   limited liability company,
                    Defendants.
   _________________________________/

                        UNOPPOSED MOTION TO WITHDRAW

          COMES NOW the undersigned attorney, Agustin R. Benitez, attorney for Defendants,

   BEATRICE NAMM, an individual, JONATHAN NAMM, an individual, and DELUXE GOURMET

   SPECIALTIES LLC, a New Jersey limited liability company, and file this motion to withdraw pursuant

   to Local Rule 11.1(d)(3), and state in support thereof as follows:

                  1.      Defendants BEATRICE NAMM and JONATHAN NAMM filed a

   bankruptcy proceeding in New Jersey on May 26, 2017 (they filed a Chapter 13 petition in the U.S.

   Bankruptcy Court in and for the District of New Jersey, which petition was assigned Case Number

   17-20807); notice of said bankruptcy filing was provided to this Court on May 26, 2017 (DOC 88).

                  2.      Final Judgment was entered on October 2, 2017 (DOC 98), after the

   automatic stay was lifted authorizing the Court to enter the Final Judgment.


                                               Page 1 of 3
Case 9:16-cv-81798-DMM Document 103 Entered on FLSD Docket 11/24/2017 Page 2 of 3




                  3.     Defendants filed their notice of appeal from the Final Judgment on October 27,

   2017 (DOC 100).

                  4.     Defendants have not retained the undersigned to represent them in the appeal

   before the 11th Circuit Court of Appeal.

                  5.     Furthermore, Defendants and the undersigned have irreconcilable differences

   between themselves which requires the sub judice motion to withdraw.

                  6.     As required by Local Rule 11.1(d)(3), Defendants BEATRICE NAMM’s,

   JONATHAN NAMM’s and DELUXE GOURMET SPECIALTIES LLC’s current street address is

   85 Corona Court, Old Bridge, NJ 08857.

                  7.     The undersigned counsel conferred with John Page, Esquire, lead attorney for

   Plaintiff and Mr. Page has indicated he has no objection to the granting of this motion.

                  8.     The undersigned counsel has conferred with Defendants BEATRICE NAMM,

   JONATHAN NAMM and DELUXE GOURMET SPECIALTIES LLC and they have indicated that

   they have reviewed this motion and they have no objection to the Court allowing the withdrawal.

          WHEREFORE the Defendants request that this Court enter an order allowing Agustin R.

   Benitez to withdraw his representations of Defendants BEATRICE NAMM, JONATHAN NAMM

   and DELUXE GOURMET SPECIALTIES LLC.

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 24, 2017, I sent a true and correct copy of the
   foregoing by E-mail delivery John E. Page, counsel for Plaintiff (jpage@sflp.law) and Bernice C. Lee,
   counsel for Plaintiff (blee@sflp.law). FURTHERMORE, on November 24, 2017, I sent a true and


                                              Page 2 of 3
Case 9:16-cv-81798-DMM Document 103 Entered on FLSD Docket 11/24/2017 Page 3 of 3




   correct copy of the foregoing by E-mail delivery to Defendants BEATRICE NAMM
   (deluxegourmet@AOL.com), JONATHAN NAMM (jrnnj627@AOL.com) and DELUXE
   GOURMET SPECIALTIES LLC (deluxegourmet@AOL.com), at 85 Corona Court, Old Bridge, NJ
   08857, and verified receipt of same by Defendants.

                                              /s/ Agustin R. Benitez
                                              AGUSTIN R. BENITEZ, ESQUIRE
                                              BENITEZ LAW GROUP, P.L.
                                              Florida Bar # 278130
                                              1223 East Concord Street
                                              Orlando, Florida 32803
                                              (407) 894-5000
                                              (407) 896-8061 (fax)
                                              Primary E-Mail: Service@ARBenitez.com
                                              Secondary E-Mail: Gus@ARBenitez.com




                                       Page 3 of 3
